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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL S. AGOVINO : Civil Actions
Plaintiff, .
No. 4:10-cv-00656-JFM
. Jury Trial Demanded
CHRISTOPHER A. BAILES

Defendant.

DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

1. Defendant lacks knowledge or information sufficient to form a belief about the truth of

 

this allegation.
2. Admitted.
3. Denied. FILED
4. Denied. HARRISBURG, PA
5. Denied. JUN 3 0 2010
6. Denied. MARY E. DYANDREA, CLERK
7. Denied. Per Deputy Clerk
8. No response required.
"9. Denied.
10. Denied.

Wherefore, defendant respectfully requests that this suit be dismissed.

 

Christopher Bailes

1826-Briarcreek Lane

Middletown, PA 17057

(717) 343-2505

Christopher.Bailes@gmail.com
Date:

 
 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I am this day serving upon all persons listed below a true and

correct copy of the foregoing document via first class mail on:

Christopher Bailes

 

Date: ->~ 90 , 2010
